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 1   THOMAS A. JOHNSON, #119203
     400 Capitol Mall, Suite 1620
 2   Sacramento, California 95814
     Telephone: (916) 422-4022
 3
     Attorney for Defendant Alvaro Gomez
 4
 5
 6                        IN THE UNITED STATES DISTRICT COURT
 7                     FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
                                                 )   Case No.: 2:07-CR-00248-07-WBS
 9   UNITED STATES OF AMERICA,                   )
                                                 )   STIPULATION AND ORDER FOR
10                 Plaintiff,                    )   AMENDMENT OF THE PSR
                                                 )   SCHEDULE
11       v.                                      )
     ALVARO GOMEZ,                               )   Date:  April 30, 2012
12                                               )   Time: 9:00 a.m.
                   Defendant.                    )   Judge: Hon. William B. Shubb
13                                               )
14
15          IT IS HEREBY STIPULATED BY AND AMONG ALL PARTIES that the
16   date to file objections to the Pre-Sentence Report is changed to April 19, 2012, and that a
17   reply would be due on or before April 26, 2012. Jason Hitt, Assistant United States
18   Attorney, and Thomas A. Johnson, Defendant’s attorney, both agree to these amendments
19   to briefing schedule for the Pre-Sentence Report. The Probation Officer has also been
20   informed and does not oppose the amendment of the schedule.
21
22   IT IS SO STIPULATED.
23
24   DATED: April 13, 2012                    By:     /s/ Thomas A. Johnson_____
                                                      THOMAS A. JOHNSON
25                                                    Attorney for Defendant
                                                      ALVARO GOMEZ
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28



                                STIPULATION AND ORDER               -1-
          Case 2:07-cr-00248-WBS-DB Document 1073 Filed 04/17/12 Page 2 of 3


     DATED: April 13, 2012                     BENJAMIN WAGNER
 1                                             United States Attorney
 2                                       By:   /s/ Thomas A. Johnson for_
                                               Jason Hitt
 3                                             Assistant U.S. Attorney
 4
 5   IT IS SO ORDERED.

 6   Dated: April 17, 2012
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                             STIPULATION AND ORDER         -2-
           Case 2:07-cr-00248-WBS-DB Document 1073 Filed 04/17/12 Page 3 of 3



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 4
 5                               IN THE UNITED STATES DISTRICT COURT
 6                         FOR THE EASTERN DISTRICT OF CALIFORNIA
 7
                                                     )   Case No.: 2:07-CR-00248-07-WBS
 8   UNITED STATES OF AMERICA,                       )
                                                     )   MODIFICATION OF SCHEDULE FOR
 9                  Plaintiff,                       )   PRE-SENTENCE REPORT AND FOR
                                                     )   FILING OF OBJECTIONS TO THE PRE-
10       v.                                          )   SENTENCE REPORT
     ALVARO COLBAIN GOMEZ,                           )
11                                                   )
                    Defendant.                       )
12                                                   )
13
      The Probation Officer and all parties shall adhere to this schedule unless it is later modified by
14                                               this Court.

15   Date of Referral to Probation Officer:                       July 5, 2011
                                                                  (Date of Plea or Verdict)
16
17   Judgment and Sentencing date:                                April 30, 2012

18   Reply or Statement                                           April 26, 2012
19
     Motion for Correction of the Pre-Sentence
20   Report shall be filed with the court and                     April 19, 2012
     served on the Probation Officer and opposing
21   counsel no later than:
22
     The Pre-Sentence Report shall be filed with
23   the court and disclosed to counsel no later                  April 9, 2012
     than:
24
25   Counsel’s written objections to the Pre-
     Sentence Report shall be delivered to the                    April 2, 2012
26   Probation Officer and opposing counsel
     no later than:
27
28   The proposed Pre-Sentence Report                             March 23, 2012
     shall be disclosed to counsel no later than:



                                  STIPULATION AND ORDER                  -3-
